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UNITED STATES BANKRUPTCY COURT                                                                                 Page 1 of 1

DISTRICT OF DELAWARE
PDF FILE WITH AUDIO FILE ATTACHMENT

      24-12245

      Biolase, Inc.




      Case Type :                       bk
      Case Number :                     24-12245
      Case Title :                      Biolase, Inc.
      Judge :                           Karen B. Owens
      Courtroom :                       6th Floor Courtroom 3, Wilmington, DE
      Audio Date\Time :                 11/12/2024 01:37:09 PM
      Audio File Name :                 24-12245.mp3
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